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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 DOMINIQUE HESSERT,

                                Plaintiff,                    Docket No. 6:18-cv-6649

        - against -                                           JURY TRIAL DEMANDED

 DEERFIELD MEDIA (ROCHESTER), INC.

                                Defendant.


                                         COMPLAINT

       Plaintiff Dominique Hessert (“Hessert” or “Plaintiff”) by and through her undersigned

counsel, as and for her Complaint against Defendant Deerfield Media (Rochester), Inc.

(“Deerfield” or “Defendant”) hereby alleges as follows:

                                   NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted video of RIT student Chris Clemens who was nearly killed by two cars, owned and

registered by Hessert, a New York based professional photographer and video journalist.

Accordingly, Hessert seeks monetary relief under the Copyright Act of the United States, as

amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in New York.
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       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Hessert is a professional photographer and video journalist in the business of

licensing her photographs and videos to online and print media for a fee having a usual place of

business at 153 Chauncey Street, Brooklyn, NY 11233.

       6.      Upon information and belief, Deerfield is a domestic business corporation duly

organized and existing under the laws of the State of Delaware, with a place of business 4225

West Henrietta Road, Rochester, New York 14623. Upon information and belief, Deerfield is

registered with the New York State Department of Corporations to do business in New York. At

all times material, hereto, Deerfield has owned and operated a website at the URL:

http://video.13wham.com (the “Website”) and has owned an operated a terrestrial TV station

under the call letters WHAM-TV (the “TV Station”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Video

       7.      Hessert videoed RIT student Chris Clemens who was nearly killed by two cars in

the hospital (the “Video”). A true and correct copy of the Video is attached hereto as Exhibit A.

       8.      Hessert is the author of the Video and has at all times been the sole owner of all

right, title and interest in and to the Video, including the copyright thereto.

       9.      The Video was registered with the United States Copyright Office and was given

registration number PA 2-119-478. See Exhibit B.

       B.      Defendant’s Infringing Activities

       10.     On or about March 8, 2018 Deerfield broadcasted the Video on their TV Station.

On the same day, Deerfield wrote an article on the Website entitled Hit by 2 cars and nearly
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killed, RIT student defies odds to make a new life. See URL http://video.13wham.com/Hit-by-2-

cars-and-nearly-killed-RIT-student-defies-odds-to-make-a-new-life-33628763. The article

prominently featured the Video. A true and correct copy of the broadcast and the article is

attached hereto as Exhibit C.

          11.    Deerfield did not license the Video from Plaintiff for its article, nor did Deerfield

have Plaintiff’s permission or consent to publish the Video on its Website.

                                CLAIM FOR RELIEF
                     (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                (17 U.S.C. §§ 106, 501)

          12.    Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          13.    Deerfield infringed Plaintiff’s copyright in the Video by reproducing and publicly

displaying the Video on the Website. Deerfield is not, and has never been, licensed or otherwise

authorized to reproduce, publically display, distribute and/or use the Video.

          14.    The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          15.    Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          16.    As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

                                      PRAYER FOR RELIEF
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       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.     That Defendant Deerfield be adjudged to have infringed upon Plaintiff’s

              copyrights in the Video in violation of 17 U.S.C §§ 106 and 501;

       2.     That Plaintiff be awarded Plaintiff’s actual damages and Defendant’s profits,

              gains or advantages of any kind attributable to Defendant’s infringement of

              Plaintiff’s Video;

       3.     The Plaintiff be awarded punitive damages for copyright infringement;

       4.     That Defendant be required to account for all profits, income, receipts, or other

              benefits derived by Defendant as a result of its unlawful conduct;

       5.     That Plaintiff be awarded pre-judgment interest; and

       6.     Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).


Dated: Valley Stream, New York
       September 12, 2018
                                                            LIEBOWITZ LAW FIRM, PLLC
                                                            By: /s/Richard Liebowitz
                                                            Richard Liebowitz
                                                            11 Sunrise Plaza, Suite 305
                                                            Valley Stream, New York 11580
                                                            Tel: (516) 233-1660
                                                            RL@LiebowitzLawFirm.com

                                                         Attorneys for Plaintiff Dominque Hessert
